                                                                                       FILED
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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

                                     )
LACHONDRIA JONES;                    )
                                     )
      PLAINTIFF,                     )
                                     )
v.                                   )      CIVIL ACTION NUMBER:
                                     )      JURY TRIAL DEMANDED
                                     )
LANIER AUTOMOTIVE, LLC,              )
ALLY FINANCIAL, INC.,                )
JAKE’S RECOVERY, LLC,                )
B & V WRECKER SERVICE,               )
INC.;                                )
                                     )
      DEFENDANTS.                    )
                                     )


                                 COMPLAINT


      COMES NOW the Plaintiff, LACHONDRIA JONES, by and through

undersigned counsel, and for her complaint against the Defendants states as

follows:

                        JURISDICTION AND VENUE

      This Court has jurisdiction under 15 U.S.C. §1692k (d), and 28 U.S.C.

§1331, §1332, and §1367. Venue is proper in that the Defendants transacted


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business here, and the Plaintiff resides in this District.

                           STATEMENT OF THE PARTIES1

       1.      Plaintiff, LACHONDRIA JONES, is over the age of nineteen (19)

               years old and is a resident of the city of Tuscaloosa in Tuscaloosa

               County, Alabama.

       2.      Defendant LANIER AUTOMOTIVE, LLC (“Lanier”) is a domestic

               limited liability company. Lanier is, and at all pertinent times herein,

               was qualified to do business in the State of Alabama and was doing

               business in this District.

       3.      Defendant ALLY FINANCIAL, INC. (hereinafter “Ally”) is a foreign

               corporation formed under the laws of the State of Delaware. Ally is,

               and at all pertinent times herein, was qualified to do business in the

               State of Alabama and was doing business in this District.

       4.      Defendant JAKE’S RECOVERY, LLC (“Jake’s”), is a domestic

               limited liability company. Jake’s is, and at all pertinent times herein,

               was qualified to do business in the State of Alabama and was doing

1
  Plaintiff asserts that another entity, specifically a repossession forwarding company, was also
involved in the wrongful repossession of Plaintiff’s car. At this time, Plaintiff does not know the
name of this entity. Plaintiff intends to amend this Complaint to add this entity along with
additional claims, specifically claims pursuant to the Fair Debt Collection Practices Act, 15
U.S.C. §1692 et seq. once the identity of the entity that forwarded or assigned the repossession in
this matter has been ascertained.

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     business in this District. Jake’s is, upon information and belief, in the

     business of automobile repossessions and is a “debt collector” as that

     term is defined by the Fair Debt Collection Practices Act (“FDCPA”)

     15 U.S.C. § 1692a(6).

5.   Defendant B & V WRECKER SERVICE, INC. (“B&V”), is a

     domestic corporation. B&V is, and at all pertinent times herein, was

     qualified to do business in the State of Alabama and was doing

     business in this District. B&V is, upon information and belief, in the

     business of automobile repossessions and is a “debt collector” as that

     term is defined by the Fair Debt Collection Practices Act (“FDCPA”)

     15 U.S.C. § 1692a(6).

                     STATEMENT OF FACTS

6.   On or about August 22, 2019, Plaintiff and her mother, Jacqueline

     Davis as co-buyer, purchased a 2016 Honda Accord bearing VIN

     1HGCR2F84GA007857 (hereinafter referred to as “the Vehicle”)

     from Defendant Lanier in Tuscaloosa, Alabama.

7.   The purchase of the Vehicle was financed through a loan with a

     company called Credit Acceptance. Credit Acceptance is not a party

     to this suit.

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8.    Plaintiff made payments as required to Credit Acceptance and was

      not in default on her loan with Credit Acceptance on or about July 27,

      2020.

9.    On or about July 27, 2020, Plaintiff was a patron at a restaurant in

      Tuscaloosa, Alabama.

10.   While at the restaurant, Plaintiff noticed a tow truck outside near the

      Vehicle.

11.   Plaintiff left the restaurant and confronted the men who were towing

      or attempting to tow her car.

12.   The men stated that they were there on behalf of Ally to repossess the

      Vehicle because the owner of the Vehicle, who they identified as a

      man living in Georgia named “William Buckley” did not make

      payments to Ally as required.

13.   Plaintiff explained to the men that she, not William Buckley, owned

      the Vehicle and that she financed the Vehicle through Credit

      Acceptance.

14.   Undeterred, and in breach of the peace, the men continued to proceed

      with repossessing and towing the Vehicle.

15.   Plaintiff called the police but the police declined to send a unit to

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      assist the Plaintiff. As a result, the Vehicle was stolen from the

      Plaintiff.

16.   Plaintiff learned that the men who wrongfully repossessed the

      Vehicle were employed by Defendants Jake’s and/or B&V.

17.   On August 18, 2020, without explanation, Defendant Lanier returned

      the Vehicle to the Plaintiff. Regardless, Plaintiff was without the

      Vehicle for several weeks.

18.   At the time of the incidents made the basis of this lawsuit, Jake’s and

      B&V and their employees/agents were operating as agents for Ally.

19.   Jake’s and B&V regularly collect or attempt to repossess or collect

      debts/security interests owed or due or asserted to be owed or due to

      another.

20.   As such, Jake’s and B&V and their employees or agents are debt

      collectors subject to the provisions of the FDCPA.

21.   Defendants Ally, Jake’s and B&V had no present right to take the

      Vehicle from the Plaintiff.

22.   In this Complaint, Plaintiff pleads that either Defendants Ally, Jake’s

      and B&V repossessed the wrong vehicle or, alternatively, the Vehicle

      was sold to Plaintiff by Lanier with the representation that it was not

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      encumbered by any lien when, in fact, it was pledged by some other

      third party as a security interest in exchange for financing by Ally.

                             COUNT ONE
                           (NEGLIGENCE)

23.   Defendant Lanier was under a duty to either payoff or otherwise

      satisfy any prior lien on the Vehicle prior to selling it to Plaintiff or

      was under a duty to make sure the Vehicle was not subject to any

      unsatisfied lien prior to selling it to the Plaintiff.

24.   Defendants Ally, Jake’s and B&V were under a duty to not repossess

      a vehicle that they had no present right to repossess and to conduct

      any repossession without breaching the peace.

25.   The Defendants breached their duties owed to the Plaintiff.

26.   At all times pertinent, Jake’s and B&V were acting as the agents of

      and for the benefit of Defendant Ally. Jake’s and B&V’s acts and

      omissions were undertaken in the line and scope of the

      principal/agent relationship that existed between Jake’s and B&V and

      Ally. Further, repossessing a vehicle with non-judicial self-help

      constitutes a non-delegable duty. For these reasons, Ally is liable to

      the Plaintiff directly pursuant to the doctrine of respondeat superior.


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27.   As a result of Defendants’ negligence, Plaintiff was caused to suffer

      damages including but not limited to: embarrassment, inconvenience,

      physical injury, worry, stress, anxiety, embarrassment, physical pain,

      mental anguish and emotional distress.

28.   Wherefore, Plaintiff seeks judgment in her favor against Defendants

      for compensatory damages in such a sum as the jury may assess along

      with such other and further relief as may be necessary, just and

      proper.

                          COUNT TWO
                          WANTONNESS

29.   Defendants Ally, Jake’s and B&V wantonly repossessed the Vehicle

      in blatant disregard of the Plaintiff’s rights when Defendants took the

      Vehicle when they had no immediate right of possession of the

      Vehicle.

30.   Defendants Jake’s and B&V further acted wantonly when, after

      breaching the peace in and about their attempts to repossess the

      Vehicle on behalf of Defendant Ally, Jake’s and B&V’s employees

      and agents continued to repossess the Vehicle when they knew or

      should have known that they had no immediate right to possession of


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      the Vehicle.

31.   At all times pertinent, Jake’s and B&V were acting as the agents of

      and for the benefit of Defendant Ally. Jake’s and B&V’s acts and

      omissions were undertaken in the line and scope of the

      principal/agent relationship that existed between them and Ally.

      Further, repossessing a vehicle with non-judicial self-help constitutes

      a non-delegable duty. For these reasons, Ally is liable to the Plaintiff

      directly pursuant to the doctrine of respondeat superior.

32.   Lanier acted wantonly when, in complete disregard of the rights of

      the Plaintiff, it willfully or recklessly either sold her the Vehicle when

      it knew or should have known that the Vehicle was subject to a lien

      or, alternatively, willfully or recklessly failed to satisfy any lien on

      the Vehicle prior to selling it to the Plaintiff.

33.   As a result of Defendants’ acts and omissions detailed herein,

      Plaintiff was caused to suffer damages including but not limited to:

      property damage, inconvenience, physical injury, worry, stress,

      anxiety, embarrassment, physical pain, mental anguish and emotional

      distress.

34.   Wherefore, Plaintiff seeks judgment in her favor against Defendants

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      for compensatory and punitive damages in such a sum as the jury may

      assess along with such other and further relief as may be necessary,

      just and proper.

                    COUNT THREE
           FRAUD AGAINST DEFENDANT LANIER

29.   Defendant Lanier’s agents or employees intentionally, recklessly or

      mistakenly made false statements or representations to the Plaintiff

      that the Vehicle had a clear and unencumbered title when Lanier sold

      the Vehicle to the Plaintiff.

30.   Said statements or representations by Lanier were false and Lanier

      knew or should have known the statements or representations were

      false when made.

31.   When said statements or representations were made Plaintiff did not

      know that they were false.

32.   Lanier intended for Plaintiff to rely on said statements or

      representations in and about its efforts to sell her the Vehicle.

33.   Plaintiff reasonably relied on said statements or representations.

34.   Plaintiff was harmed by said statements or representations.

35.   In addition, Plaintiff alleges that Defendant Lanier intentionally


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        concealed or withheld the fact that there was a lien on the Vehicle at

        the time it was sold to the Plaintiff and that the Vehicle’s title was not

        clear when it was sold to the Plaintiff.

  36.   Wherefore, Plaintiff seeks judgment in her favor against Defendants

        for compensatory and punitive damages in such a sum as the jury may

        assess along with such other and further relief as may be necessary,

        just and proper.

                     COUNT FOUR
VIOLATION OF THE FAIR DEBT COLLECTIONS PRACTICES ACT
         AGAINST DEFENDANTS JAKE’S AND B&V

  37.   Defendants Jake’s and B&V are debt collectors as that term is defined

        by the Fair Debt Collection Practices Act at 15 U.S.C. §1692(a)(6).

  38.   The foregoing acts and omissions of Defendants Jake’s and B&V and

        its employees and agents constitute a violation of the FDCPA, 15

        U.S.C. § 1692f(6), with respect to the Plaintiff.

  39.   15 U.S.C. § 1692f(6) prohibits taking any non-judicial action to effect

        dispossession of property if there is no present right to possession of

        the property.

  40.   Plaintiff asserts that at no time did Jake’s or B&V have any present

        right to possession of the Vehicle. As such, Jake’s and B&V’s

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      repossession or theft of the Vehicle violated the FDCPA with respect

      to the Plaintiff.

41.   Alternatively, even in the event that there was a present right to

      possession of the Vehicle, Plaintiff alleges that once Jake’s and/or

      B&V’s employees or agents breached the peace, they lost any right to

      use non-judicial self-help to repossess the vehicle and violated the

      FDCPA.

42.   As a direct and proximate result of the wrongful conduct visited upon

      her by Jake’s and/or B&V in their repossession or collection efforts,

      Plaintiff was caused to suffer damages including but not limited to:

      inconvenience, physical injury, worry, stress, anxiety, embarrassment,

      physical pain, mental anguish and emotional distress.

43.   As a result of Defendant Jake’s and/or B&V’s violations of the

      FDCPA, Plaintiff is entitled to actual damages in an amount to be

      determined by a struck jury pursuant to 15 U.S.C. § 1692k(a)(1);

      statutory damages in an amount up to $1,000.00 pursuant to 15

      U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and costs

      pursuant to 15 U.S.C. § 1692k(a)(3), from Defendants Jake’s and

      B&V.

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                                COUNT FIVE
                            BREACH OF CONTRACT

      44.   Plaintiff entered into a contract for the purchase of the Vehicle with

            Defendant Lanier with the understanding that the Vehicle did not

            have any liens attached to it and that Lanier would sell the Vehicle

            with a clear title to the Plaintiff.

      45.   Plaintiff has performed her part of the contract.

      46.   Defendant Lanier breached the contract by selling the Vehicle to the

            Plaintiff when the Vehicle did not have a clear title.

      47.   Plaintiff has suffered harm as a result of Defendant Lanier’s breach of

            the contract.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff claims damages

of the Defendants, jointly and severally, in statutory, compensatory and punitive

damages, plus interest, costs, reasonable attorney’s fees and any such other and

further relief allowable by law and as this court deems proper and/or necessary.

            PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY


                                        /s/ W. Whitney Seals
                                        W. WHITNEY SEALS,
                                        Attorney for Plaintiff




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PLAINTIFFS’ ADDRESS:
Lachondria Jones
140 25th Ave. East
Tuscaloosa, AL 35404

PLEASE SERVE THE DEFENDANTS BY CERTIFIED MAIL, RETURN
RECEIPT REQUESTED TO THE FOLLOWING ADDRESSES:

Lanier Automotive, LLC                       Jake’s Recovery, LLC
c/o Registered Agent                         c/o Registered Agent
George A. Lake                               Richard J. Black
308 Skyland Blvd. East                       54 Crestview Heights Circle
Tuscaloosa, AL 35405                         Cordova, AL 35550

Ally Financial, Inc.                         B &V Wrecker Service, Inc.
c/o Registered Agent                         c/o Registered Agent
C T Corporation System                       Virginia Spencer
2 North Jackson Street, Suite 605            Route 1, Box 72B
Montgomery, AL 36104                         Knoxville, AL 35469




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